
Kirkpatrick, C. J.
— This is an action of debt for 28 cents, and there is judgment for the plaintiff for that sum, with §2 47 of costs — and this comes up by certiorari. These parties, one would think, must have as much money as prudence, at least. — However, they must have justice.
The state of demand is in these words, viz: January 17, 1807, James Chamberlin, Dr. to Thomas Cox, to one pair of horse-shoes, 28 cents. This is a proper state of demand in an action of debt, on matter of account; and in order to support this action, it was incumbent on the plaintiff to prove either an express contract for the buying and selling of the horse-shoes, at a stipulated price, or that the plaintiff' furnished them, and the defendant received them in the common course of business and dealing, whereupon the law would raise up against him an implied contract, to pay so much as they were reasonably worth. But in this case, there was no such contract, no such mutual dealing; and as the justice returns, no assumpsit neither express or implied. The obtaining of the horse-shoes therefore, by the defendant, was by wrong, and not by contract; and if so, debt will not lie. I think, therefore, there must be a reversal.
Rosseii, J. and Pehhtngon J. — Concurred.
Judgment reversed.
